               Case 2:20-cv-00680-RSL Document 67-1 Filed 10/13/20 Page 1 of 4




 1                                                        THE HONORABLE ROBERT S. LASNIK
 2

 3

 4

 5

 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8

 9   TOMMY BROWN, on his own behalf and                No. 2:20-cv-00680-RSL
     on behalf of other similarly situated
10   persons,                                          [PROPOSED] ORDER DENYING
                                                       PLAINTIFF’S MOTION TO REMAND
11                          Plaintiff,
                                                       NOTE ON MOTION CALENDAR:
12            v.
                                                       OCTOBER 16, 2020
13   TRANSWORLD SYSTEMS, INC., et al.,
                                                       ORAL ARGUMENT REQUESTED
14                          Defendants.
15

16            This matter came before the Court on Plaintiff’s Motion to Remand (“Motion”). The
17   Court has considered the record before it, including the papers filed in support of and in
18   opposition to the Motion and heard the arguments of counsel, if any, and is fully advised in the
19   premises. Upon this consideration,
20            IT IS HEREBY ORDERED that Plaintiff’s Motion is DENIED.
21
22            DATED this _____ day of ________________________, 2020.
23

24
                                                         The Honorable Robert S. Lasnik
25                                                       United States District Judge
26

      [PROPOSED] ORDER DENYING                                                  Perkins Coie LLP
      PLAINTIFF’S MOTION TO REMAND                                        1201 Third Avenue, Suite 4900
                                                                            Seattle, WA 98101-3099
      (No. 2:20-cv-00680-RSL) –1                                              Phone: 206.359.8000
     149816660.1                                                               Fax: 206.359.9000
               Case 2:20-cv-00680-RSL Document 67-1 Filed 10/13/20 Page 2 of 4




 1   Presented by:
 2   JONES DAY
 3   By: /s/ Albert J. Rota
     Albert J. Rota, Pro Hac Vice
 4   2727 North Harwood St.
     Dallas, TX 75201
 5   ajrota@jonesday.com
 6   Attorneys for Defendant
     U.S. Bank National Association
 7
     PERKINS COIE LLP
 8
     By: s/ Kristine E. Kruger
 9   By: s/ Thomas N. Abbott
     Kristine E. Kruger #44612
10   Thomas N. Abbott #53024
     1201 Third Avenue, Suite 4900
11   Seattle, WA 98101-3099
     Email: KKruger@perkinscoie.com
12   Email: TAbbott@perkinscoie.com
13   Attorneys for Defendants
     U.S. Bank National Association and U.S.
14   Bank National Association, National
     Collegiate Student Loan Trust 2004-1,
15   National Collegiate Student Loan Trust
     2004-2, National Collegiate Student Loan
16   Trust 2005-1, National Collegiate Student
     Loan Trust 2005-2, National Collegiate
17   Student Loan Trust 2005-3, National
     Collegiate Student Loan Trust 2006-1,
18   National Collegiate Student Loan Trust
     2006-2, National Collegiate Student Loan
19   Trust 2007-1, National Collegiate Student
     Loan Trust 2007-2
20
     SESSIONS, FISHMAN, NATHAN & ISRAEL
21
     By: /s/ Bryan C. Shartle, Esq.
22   Bryan C. Shartle, Pro Hac Vice
     Justin Homes, Pro Hac Vice
23   Bradley St. Angelo, Pro Hac Vice
     3850 North Causeway Boulevard, Suite 200
24   Metairie, LA 70002
     bshartle@sessions.legal
25   jhomes@sessions.legal
     bstangelo@sessions.legal
26

      [PROPOSED] ORDER DENYING                                     Perkins Coie LLP
      PLAINTIFF’S MOTION TO REMAND                           1201 Third Avenue, Suite 4900
                                                               Seattle, WA 98101-3099
      (No. 2:20-cv-00680-RSL) –2                                 Phone: 206.359.8000
     149816660.1                                                  Fax: 206.359.9000
               Case 2:20-cv-00680-RSL Document 67-1 Filed 10/13/20 Page 3 of 4




 1   CORR CRONIN LLP
 2   By: /s/ Emily J. Harris
     Emily J. Harris, WSBA No. 35763
 3   Benjamin C. Byers, WSBA No. 52299
     1001 Fourth Avenue, Suite 3900
 4   Seattle, WA 98154
     eharris@corrcronin.com
 5   bbyers@corrcronin.com
 6   Attorneys for Transworld Systems Inc.
 7
 8

 9

10

11

12

13

14
15

16

17

18
19

20

21
22

23

24

25
26

      [PROPOSED] ORDER DENYING                                     Perkins Coie LLP
      PLAINTIFF’S MOTION TO REMAND                           1201 Third Avenue, Suite 4900
                                                               Seattle, WA 98101-3099
      (No. 2:20-cv-00680-RSL) –3                                 Phone: 206.359.8000
     149816660.1                                                  Fax: 206.359.9000
               Case 2:20-cv-00680-RSL Document 67-1 Filed 10/13/20 Page 4 of 4




 1                                     CERTIFICATE OF SERVICE
 2            I hereby certify under the penalty of perjury under the laws of the United States that on
 3   the date below, I electronically served the foregoing with the Clerk of the Court using the
 4   CM/ECF system, which will send notification of such filing to all counsel of records.
 5            DATED at Seattle, Washington this 13th day of October, 2020.
 6
                                                            /s/ Kate Johnson
 7                                                          Kate Johnson, Legal Practice Assistant
 8

 9

10

11

12

13

14
15

16

17

18
19

20

21
22

23

24

25
26

      [PROPOSED] ORDER DENYING                                                   Perkins Coie LLP
      PLAINTIFF’S MOTION TO REMAND                                         1201 Third Avenue, Suite 4900
                                                                             Seattle, WA 98101-3099
      (No. 2:20-cv-00680-RSL) –1                                               Phone: 206.359.8000
     149816660.1                                                                Fax: 206.359.9000
